                        Case 3:16-cv-03495-D Document 1-1 Filed 12/23/16                                                                                                                                                                  Page 1 of 1 PageID 18
JS 44 (Rev. 08/16)                                                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                                                                                                  DEFENDANTS
GEORGE ANIBOWEI                                                                                                                                                                LORETTA LYNCH, ATTORNEY GENERAL OF THE UNITED
                                                                                                                                                                               STATES, ET AL

      (b) County of Residence of First Listed Plaintiff                                   .::C:..::O::.:L:::L:::Ic_N::.__ _ _ _ __                                                 County of Residence of First Listed Defendant
                                    (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                                                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                                                                   NOTE:                 IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                                                         THE TRACT OF LAND INVOLVED.


LAW ~s~~ej(~~~eFfenber)                                                                                                                                                              Attorneys (If Known)

6060 N. CENTRAL EXPRESSWAY, STE. 560
DALLAS, TEXAS 75206

II. BASIS OF JURISDICTION (Place an "X"inOneBoxOnly)                                                                                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                                                             "X" in one Box for Plaintiff
                                                                                                                                                                           (For Diversity Cases Only)                                                                       and One Box for Defendant)
Ll I     U.S. Government                Ll 3       Federal Question                                                                                                                                                              PTF        DEF                                            PTF        DEF
            Plaintiff                                   (U.S. Government Not a Party)                                                                            Citizen of This State                                           Ll I        Ll   I     Incorporated or Principal Place     Ll 4      Ll4
                                                                                                                                                                                                                                                          of Business In This State

~2 U.S. Government                       Ll 4      Diversity                                                                                                     Citizen of Another State                                        Ll 2        Ll   2     Incorporated and Principal Place    0    5    0 5
            Defendant                                   (Indicate Citizenship ofParties in Item III)                                                                                                                                                       of Business In Another State

                                                                                                                                                                 Citizen or Subject of a                                         0 3         0    3     Foreign Nation                      0    6    06
                                                                                                                                                                   Foreim Countrv
IV. NATURE OF SUIT (Place an "X"' in One Box Only)                                                                                                                                                                                      Click here for: Natur,, ofSni~-~~~-

0     110 Insurance                       PERSONAL INJURY                                          PERSONAL INJURY        0                                            625 Drug Related Seizure                                       0 422 Appeal 28 USC 158               0 3 75 False Claims Act
0     120 Marine                       0 310 Airplane                                            0 365 Personal Injury -                                                   of Property 21 USC 881                                     0 423 Withdrawal                      0 376 Qui Tam (31 USC
0     130 Miller Act                   0 315 Airplane Product                                          Product Liability  0                                            690 Other                                                            28 USC 157                             3729(a))
0
0
      140 Negotiable Instrument
      !50 Recovery of Overpayment
                                              Liability
                                       0 320 Assault, Libel &
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          & Enforcement of Judgment            Slander                                                 Personal Injury                                                                                                                0 820 Copyrights                      0 430 Banks and Banking
Ll    151 Medicare Act                 Ll 330 Federal Employers'                                       Product Liability                                                                                                              0 830 Patent                          Ll 450 Commerce
Ll    !52 Recovery of Defaulted                Liability                                         0 368 Asbestos Personal                                                                                                              0 840 Trademark                       0 460 Deportation
          Student Loans                Ll 340 Marine                                                    Injury Product
          (Excludes Veterans)          0 345 Marine Product                                             Liability        II                                    6;ifl!fllfll.llll!ll!ll!l············· 0                                                                        470 Corrupt
                                                                                                                                                                                                                                                                                   Racketeer Influenced and
                                                                                                                                                                                                                                                                                           Organizations
 Ll   153 Recovery of Overpayment              Liability                                          PERSONAL PROPERTY 0                                                  710 Fair Labor Standafds                                       0    86JHIA(l39sfi)                   0 480 Consumer Credit
          of Veteran's Benefits        0 350 Motor Vehicle                                       0 370 Other Fraud                                                         Act                                                        0    862 Black Lung (923)             Ll 490 Cable/Sat TV
0     160 Stockholders' Suits          0 355 Motor Vehicle                                       0 371 Truth in Lending   0                                            720 Labor/Management                                           0    863 DIWC/DIWW (405(g))           0 850 Securities/Commodities/
0     190 Other Contract                      Product Liability                                  0 380 Other Personal                                                      Relations                                                  0    864 SSID Title XVI                      Exchange
0     195 Contract Product Liability   0 360 Other Personal                                            Property Damage    0                                            740 Railway Labor Act                                          0    865 RSI (405(g))                 0 890 Other Statutory Actions
0     196 Franchise                           Injury                                             0 385 Property Damage    0                                            751 Family and Medical                                                                               0 891 Agricultural Acts
                                       0 362 Personal Injury -                                         Product Liability                                                   Leave Act                                                                                        0 893 Environmental Matters


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                                                                                                                                                                                                                                                                                   Act
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      210 Land Condemnation             Qf: 440 Other Civil Rights                                      Habeas Corpus:                                                 Income Security Act                                           I0 870 Taxes (U.S. Plaintiff           0 896 Arbitration
0     220 Foreclosure                   0 441 Voting                                              0     463 Alien Detainee                                                                                                                  or Defendant)                   0 899 Administrative Procedure
Ll    230 Rent Lease & Ejectment        Ll 442 Employment                                         0     510 Motions to Vacate                                                                                                         0 871 IRS-Third Party                        Act/Review or Appeal of
0     240 Torts to Land                 0 443 Housing!                                                      Sentence                                                                                                                        26 USC 7609                            Agency Decision
0     245 Tort Product Liability               Accommodations                                     0     530 General                                                                                                                                                         Ll 950 Constitutionality of
0     290 All Other Real Property       0 445 Amer. w/Disabilities-                               0     535 Death Penalty                                                                                                                                                          State Statutes
                                               Employment                                               Other:                                                 IO 462"                -rr
                                        0 446 Amer. w/Disabilities                                0     540 Mandamus & Other                                    Ll 465 Other Immigration
                                               Other                                              0     550 Civil Rights                                               Actions
                                        Ll 448 Education                                          0     555 Prison Condition
                                                                                                  0     560 Civil Detainee -
                                                                                                            Conditions of
                                                                                                                 Confinement

 V. ORIGIN (Piacean            "'X"inOneBoxOnly)
~ 1 Original               LJ 2 Removed from                                 LJ 3               Remanded from                                        LJ 4 Reinstated or                                 LJ 5 Transferred from                           LJ 6 Multidistrict            LJ 8 Multidistrict
    Proceeding                      State Court                                                 Appellate Court                                           Reopened                                           Another District                                Litigation -                  Litigation -
                                                                                                                                                                                                                      (specijj>)                             Transfer                      Direct File
                                            Cite the U.S. Civil Statute under which y~u are filil!&lDo not cit~ jurisdictional statutes unless diversity):
 VI. CAUSE OF ACTION
                                             U.S. CONSTITUTION, FIRST AND FOURTH AMENDMENTS _____________________
                                           ~B;:.n~.e=:f:-:d:=es~c:..;r!P.~t:;:io~n.:..o:....;f::-c~au.:.:s::.e:...:::!...:...~=-.:.....:....::..:.:::....:.....:::.::..:....:..:..:..:.:..::.:..:..:::.:...:.::..:.:=:..!.:...=...

                                              UNLAWFUL SEARCH AND SEIZURE OF ELECTRONIC DEVICE
 VII. REQUESTED IN     0                               CHECK IF THIS IS A CLASS ACTION                                                                                  DEMAND$                                                                       CHECK YES only if demanded in complaint:
      COMPLAINT:                                       UNDER RULE 23, F.R.Cv.P.                                                                                                                                                                       JURY DEMAND:                LJ Yes     LJ No
 VIII. RELATED CASE(S)
                                                   (See instructions):
       IF ANY                                                                                                                                                                                                                              DOCKET NUMBER
 DATE
 12/23/2016
 FOR OFFICE USE ONLY

      RECEIPT#                       AMOUNT                                                                                                                                                                                                                      MAG. JUDGE
